         Case 2:25-cv-01376-LGD                  Document 1-3    Filed 03/12/25       Page 1 of 1 PageID #: 32

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                            for the

                                       EASTERN DISTRICT OF NEW YORK

                                                                      )
                                                                      )
                                                                      )
Liliana Yanes                                                         )
                                Plaintiff(s)                          )
                                                                      )   Civil Action No.
                                     v.                               )
                                                                      )
                                                                      )
                                                                      )
Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash,                     )
Rakeshbhai Patel, Darpan Patel and Ronak Patel
                               Defendant(s)                           )



                                                 SUMMONS IN A CIVIL ACTION

 To:              Rakeshbhai Patel
                  4110 Hempstead Turnpike
                  Bethpage, NY 11714

           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:

                            Steven John Moser
                            Moser Law Firm, PC
                            133 C New York Avenue
                            Huntington, NY 11743
                            steven.moser@moserlawfirm.com


        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                  CLERK OF COURT

 Date:
                                                                               Signature of Clerk or Deputy Clerk
